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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


ROBERT LYONS,
                                                               Case No.: 18-CV-11607
       Plaintiff,
v.

UNUM LIFE INSURANCE COMPANY
OF AMERICA;

      Defendant.
____________________________________/

                         COMPLAINT FOR DISABILITY BENEFITS

       Plaintiff, Robert Lyons, by and through undersigned counsel hereby files his Complaint

against the Defendant, Unum Life Insurance Company of America, and says:

                                I. JURISDICTION AND VENUE

       1.      Robert Lyons’ claims are filed pursuant to 29 U.S.C. § 1001, et seq. (ERISA).

Venue and jurisdiction are, therefore, proper pursuant to 29 U.S.C. § 1132.

                                            II. PARTIES

       2.      Plaintiff, Robert Lyons (“Mr. Lyons”), is a resident of South Dennis in Barnstable

County, Massachusetts. Defendant, Unum Life Insurance Company of America, (hereafter

“Unum” or “Defendant”) is a foreign corporation doing business in Massachusetts. Defendant is

the insurer of the long-term disability policy at issue in this cause.

                                           III.    FACTS

       3.      At all times material to this action, there was in full force and effect a group

insurance policy (“the LTD Policy”) for long-term benefits, issued to Mr. Lyons’ employer, Coca-

Cola Refreshments USA, Inc., which constituted a binding contract of insurance between

Defendant and Mr. Lyons.
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          4.      Mr. Lyons was employed at Coca-Cola Refreshments USA, Inc. as a Field Service

Supervisor. By virtue of his employment at Coca-Cola Refreshments USA, Inc., Mr. Lyons was

an eligible participant of the LTD Policy at all times material to this action.

          5.      The purpose of the LTD Policy was to provide Mr. Lyons with a percentage of his

monthly earnings in the event that he became disabled.

          6.      Disability is defined under the LTD Policy as:

                  You are disabled when Unum determines that:
                  - you are limited from performing the material and substantial duties of
                     your regular occupation due to your sickness or injury; and
                  - you have a 20% or more loss in your indexed monthly earnings due to
                     the same sickness or injury.

                  After 24 months of payments, you are disabled when Unum determines that
                  due to the same sickness or injury, you are unable to perform the duties of
                  any gainful occupation for which you are reasonably fitted by education,
                  training or experience.

          7.      Mr. Lyons suffers from multiple medical conditions and disabling symptoms,

including, but not limited to: polyarthritis, osteoarthritis of the knees necessitating bilateral total

knee replacements, chronic venous insufficiency, severe pedal edema, and ulcers and scabbing in

both his legs following the surgeries.

          8.      Due to his disability, Mr. Lyons has been unable to perform each of the Material

and Substantial Duties of his own occupation at all times material to this action as well as the

material and substantial duties of any gainful occupation for which he is reasonably fitted by

education, training or experience. Accordingly, Mr. Lyons is disabled under the terms of the LTD

Policy.

          9.      Mr. Lyons ceased work on or about September 5, 2014.




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       10.     Based on medical records provided, the Social Security Administration has found

Mr. Lyons to be disabled and now provides him with monthly Social Security Disability Income

payments.

       11.     In accordance with the procedures set forth by the policy, Mr. Lyons timely notified

and submitted Proof that he was Disabled under the terms of the LTD Policy.

       12.     In recognition of the severity of his Disability, Defendant approved and paid

benefits from March 6, 2015 through October 26, 2017.

       13.     By letter dated October 26, 2017, Defendant informed Mr. Lyons that it was

terminating his claim for disability.

       14.     Mr. Lyons timely appealed Defendant’s termination of his long term disability

benefits.

       15.     By letter dated June 5, 2018, Defendant denied Mr. Lyon’s appeal.

       16.     Mr. Lyons timely exhausted all mandatory appeals with Defendant under ERISA.

       17.     The termination of Mr. Lyons’ disability benefits was a breach of the terms of the

LTD Policy, and the decision was wrong and an abuse of discretion.

       18.     The termination of Mr. Lyons’ disability benefits was a breach of fiduciary duties

owed to Mr. Lyons under ERISA. Defendant further failed to discharge its duties with respect to

discretionary claims processing solely in the interests of Mr. Lyons as a participant of the long

term disability Policy.


                                IV. COUNT I: PLAN BENEFITS

       Plaintiff incorporates the allegations contained in Paragraphs 1 through 18 as if fully stated

herein and says further that:




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       19.     Mr. Lyons is entitled to certain benefits of the long term disability Policy consisting

of past long-term disability benefits including prejudgment interest, retroactive to the day benefits

were terminated and any other benefits owed under the welfare plan issued by his employer

pursuant to 29 U.S.C. §1132(a)(1)(B).

       20.     Mr. Lyons is entitled to the benefits identified herein because:

               a. the benefits are permitted benefits under the long term disability policy;

               b. Mr. Lyons has satisfied all conditions to be eligible to receive the benefits;

               c. Mr. Lyons has not waived or otherwise relinquished his entitlements to the

                   benefits.

       21.     Defendant has refused to pay the benefits sought by Mr. Lyons, ignoring the

medical records and opinions of the attending physicians without any contrary credible medical

evidence, which constitutes a wrong and arbitrary and capricious breach of the long-term policy.

                          V. COUNT II: ATTORNEY’S FEES

   Plaintiff incorporates the allegations contained in Paragraphs 1 through 21 as if fully stated

herein and says further that:

       22.     To the extent that the Defendant violated any provisions of Subchapter I of Title

29, Chapter 18 of the United States Code, Mr. Lyons is entitled to reasonable attorney’s fees and

costs of this action pursuant to 29 U.S.C. §1132(g)(1).

                                VI. RELIEF REQUESTED

       Plaintiff incorporates the allegations contained in Paragraph 1 through 22 as if fully stated

herein and says further that:




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          23.   As a result of the acts and/or omissions of Defendant as alleged herein, Defendant

owes Mr. Lyons unpaid long-term disability benefits, plus interest and/or Mr. Lyons is entitled to

appropriate equitable relief as a result of the acts and/or omissions of Defendant.

          24.   The Defendant is also liable for Mr. Lyons’ attorney’s fees and the costs of

litigation in an amount to be proven at trial.

          25.   The Defendant is also liable to place Mr. Lyons in the position he would have

enjoyed under the policy had Defendant not wrongfully terminated his benefits.

                                   VII. PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, Robert Lyons, prays for a judgment against Defendant for the

relief as plead herein and for such other equitable relief as this Honorable Court deems just and

proper.



                                       Respectfully submitted this 31st day of July, 2018
                                       /s/ Jonathan T. Macedo_______
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